              Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

ROBERT REINKING,                                          )
                                                          )
                 Plaintiff,                               )
                                                          )
       v.                                                 )         No.

GC SERVICES, LP
                                                          )
                                                          )
                                                                          14         1998
                                                          )
                 Defendant.                               )

                                   PLAINTIFF'S COMPLAINT

       NOW COMES Plaintiff, ROBERT REINKING ("Plaintiff'), by and through his

attorneys, and for his Complaint against Defendant, GC SERVICES, LP, ("Defendant"), alleges

as follows:

                                             Nature of the Action

       1.      This action is brought by Plaintiff pursuant to the Fair Debt Collection Practices Act,

               15 U.S.C. § 1692 et seq. ("FDCPA").

                                        Jurisdiction and Venue

       2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

               such actions may be brought and heard before "any appropriate United States district

               court without regard to the amount in controversy."

       3.      Defendant conducts business in the State of Pennsylvania and, therefore, personal

              jurisdiction is established.

       4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
     Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 2 of 6



                                       Parties

5.   Plaintiff is a natural person residing m Lansdale, Montgomery County,

     Pennsylvania.

 6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according

     to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

      1692a(5).

 7. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

      sought to collect a consumer debt from Plaintiff

 8. Defendant is a national company located in Houston, Texas.

 9. Defendant, in the ordinary course of business, regularly, on behalf of itself or others,

      engages in debt collection.

                                 Factual Allegations

10. In or around March of2014, Defendant placed collection calls to Plaintiff seeking and

     demanding payment for an alleged consumer debt.

11. Plaintiffs alleged debt arises from transactions for personal, family, and household

     purposes.

12. Defendant called Plaintiffs telephone number at 215-362-76XX.

13. In or around March of2014, Defendant called Plaintiff and left a voicemail message

     on Plaintiffs answering machine. See transcribed voicemail message attached hereto

     as Exhibit A.

14. In the voicemail message, Defendant failed to meaningfully disclose the company's

     name or the nature of the call or state that the call was from a debt collector. See

     transcribed voicemail message attached hereto as Exhibit A.




                                           2
  Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 3 of 6



15. In the voicemail message, Defendant directed Plaintiff to call back telephone number

   866-749-7274, extension 6127, which is a number that belongs to Defendant. See

   transcribed voicemail message attached hereto as Exhibit A.

16. Defendant is using false, deceptive and misleading means in connection with

   attempting to collect a debt by not identifying the purpose of its phone calls or that

   they are an attempt to collect a debt.

                             CLAIM FOR RELIEF

                 Count I - Fair Debt Collection Practices Act

17. Defendant's violations of the FDCPA include, but are not limited to, the following:

   a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural

       consequence of which is to harass, oppress, or abuse Plaintiff;

   b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to

       Plaintiff without meaningful disclosure of the caller's identity.

   c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

       misleading representations or means in connection with the collection of the

       debt;

   d. Defendant violated § 1692e(l 0) of the FDCPA by using deceptive means in an

       attempt to collect a debt;

   e. Defendant violated § 1692e(ll) of the FDCPA by failing to disclose in its

       communications with Plaintiff that the communication was from a debt collector.

WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

       (1) Statutory damages of $1000.00 pursuant to 15 U.S.C. § 1692k;




                                            3
        Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 4 of 6



           (2) Reasonable attorneys' fees, costs pursuant to 15 U.S.C. § 1692k; and

           (3) Awarding such other and further relief as may be just, proper and equitable.




Dated                                           RESPECTFULLY SUBMITTED,


                                                By:_-F=_.,.....__ _ _=
                                                Jason      ettig, Esquire
                                                100 W Monument Ave
                                                Hatboro, PA 19040
                                                Phone :(267) 879-9054
                                                E-mail: rettiglaw@yahoo.com
                                                Attorney for Plaintiff




                                            4
Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 5 of 6



                    EXHIBIT A
      Case 2:14-cv-02998-CDJ Document 1 Filed 05/28/14 Page 6 of 6



"Hi, Robert Reinking, this is (unintelligible), please give me a call back at 866-749-7274

extension 6127. Thank you."
